









Dismissed and Memorandum Opinion filed January 15, 2004









Dismissed and Memorandum Opinion filed January 15,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-1332-CR

____________

&nbsp;

CHRISTIAN JARROD REDEAUX,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
263rd District Court

Harris County, Texas

Trial Court Cause No. 955,637 

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp;
O P I N I O N

Appellant entered a guilty plea to aggravated robbery.&nbsp; In accordance with the terms of a plea
bargain agreement with the State, on November 10, 2003, the trial court
sentenced appellant to seven years= confinement in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed January 15, 2004.

Panel consists of Justices
Edelman, Frost, and Guzman.

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





